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     EXHIBIT 406

     REQUESTED BY:      I(ANATZAP.I .ÏAMES D
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          DEPARTMENT OF IIOMELAND SECURITY                         TECS ACCESS CODE 3
                            ICE
                                                                   PAGE     1.
   REPORT          OF    TNVESTTGATION
                                                                   cAsE NüMBER KC0TQRI_3KC0003
    TTTLE: SCOTT DEPPISH
    CASE STATUS:        INTERTM RPT
    R.EPORT DATE           DATE ASSIGNED               PROGR.ê,M CODE              REPORT NO,
      o2L2L3                   L023L2                       YT]-                      003

     RELATED CASE NUMBERS:

     COLLATERAL REQ:

     TYPE OF REPORT:
    INVESTIGATIVE FTNDINGS
   SEARCH WARRANT REPORT / /       OTHER INFORMATION

 TOPIC: EXÄMINATTON OF EPIAIL ADDRESS FOR. CHITD PORN
     SYNOPSTS:
 on July 25, 201-2, the Ho.meland Securíty Investigations Cyber Críme Center
  (C3), Child Exploitation Investigations Unit (CEIU) received a child
    ploíE.at.íon referral from the Queensland PoIice regarding Image Source
  TTMGSRC) \rser "dirtyoldman7l".   Dirtyoldman7l- posLed pictures and comments on
 ttre Russian image board IMGSRC indicating the exchange of images of child
 exploitaEion. Dírtyoldmanl posted nude images of an adult female he indicated
 is his stepdaughter, and images of a gírl he indlcates is his nine year old
 granddaughter. The C3 invesLigation has id.entífied ScoLt DEPPISH, Junction
 City, Kansas has possible beíng 'rDirtyoldman7l-tr. C3 has requested the HSI
 Kansas City office open a child pornography on Scott DEPPISH.
 This report documents the contents of the emaj,I address pigbreederTL@yahoo.com
 for evidence of the possessíon and distribuEion of chíId. pornography.

     DISTRIBUTION:                SIGNATURE:
 ASCKC SACCH CAMW               KANATZAR           JAMES             D    SPECTAL AGENT

                                  APPROVED:
                                GIBSON             STIAWN            S OI GRP SUPERVISOR


                                   ORIGIN OFFICE: KC                TELEPHONE: 8]-6 802 8594
                                KANSAS CÏTY, MO - AS
                                                                    TYPIST: KANATZAR
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                             ICE
                                                                CASE NUMBER KCOTQR13KCOO03
     REPORT      OF      T   NV ESTIGATION
               CONTI         NU ATTON                           REPORT NUMBER: 003

DETATLS OF TNVESTfGATÏON:

On .IuIy 25, 2012, the Homeland Security Investigations Cyber Crime Center
 (C:¡, Child Exploitation Investigations Unit (CEIU) received a child
exploitation referral from the Queensland Police regarding Image Source
 (IMGSRC) user "dirtyoldman?1". DirtyoldmanTl- posted picLures and comments on
the Russian image board IMGSRC índicat.ing the exchange of images of child
exploitation. Dirtyol-dmanl- posted nude images of an adult femaLe he indicated
is his stepdaughter, and images of a girl he indicates is his níne year o1d
granddaught,er.
On November 29, 20L2, HSI Kansas City obtained a federal child pornography
search warrant for the contents of the email address
"pígbreederl-971@yahoo.com". On November 29, 2012, SA Kanatzar faxed t,he
federal search warrant to YAHOO.
On December L9, 20L2, YAHOO sent to SA Kanatzar, via fedex, a CD ROM disk that
contained the contents of the ernaiJ. address 'rpigbreederl-97J-@yahoo.comrr. The
examination of the email address "pigbreederl-971-@yahoo.comrr revealed
approximately 1-028 email messag'es during the time period of January l-9, 20r-2
to December 5,201"2. None of the approximately 1-028 email messages contained
¡ attached image or movie fíIes.         No child pornography images or movies
wer€ f ound in the email- address "pigbreederl"91 L@yahoo. comrr ,
The majority of the 1-028 email messages are related to the poetry chat group
I'strangebrew@yahoogroups.comfr. Approximately 84 of the l-028 email messages
were related to the Russian web siterrimgsrc.rurf with the majority of the
email messages from individuals requesting the par¡sword to "DirtyoldmanTl"
password protected photo album. Approximately 6 of Lhe 84 email messages
were from other |timgsrc.rurr accounÈ users who were providing to
 Dirtyoldman7l-rr passwords to their phoÈo albums. SA Kanatzar was able to
tf

access some of the phot,o albums of the otherrrimgsrc.rul users and no child
pornography images were discovered in the photo albums. Two ¡'imgsrc,rurl
photo album accounts u¡ere locked and a message stated that the accounts were
locked for the posting of inappropriate material.
The HSf Kansas City investigation continues.




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